     Case 2:18-cv-05008-FMO-AFM Document 4 Filed 06/05/18 Page 1 of 4 Page ID #:29




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6    Amy J. Longo, Regional Trial Counsel
     444 S. Flower Street, Suite 900
7    Los Angeles, California 90071
     Telephone: (323) 965-3998
8    Facsimile: (213) 443-1904
9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                                   Western Division
12
      SECURITIES AND EXCHANGE                     Case No. 2:18-cv-05008
13    COMMISSION,
                                                  PLAINTIFF SEC’S NOTICE OF
14                Plaintiff,                      MOTION AND MOTION FOR
                                                  PRELIMINARY INJUNCTION
15          vs.
                                                  Date:      July 16, 2018
16    RALPH T. IANNELLI and ESSEX                 Time:      10:00 a.m.
      CAPITAL CORPORATION,                        Ctrm:      TBD
17                                                Judge:     TBD
                  Defendants.
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     Case 2:18-cv-05008-FMO-AFM Document 4 Filed 06/05/18 Page 2 of 4 Page ID #:30




1    TO DEFENDANTS AND THEIR COUNSEL:
2          PLEASE TAKE NOTICE that Plaintiff Securities and Exchange Commission
3    (“SEC”) will, and hereby does, move for an order granting the SEC’s Motion for
4    Preliminary Injunction. The SEC’s motion will be heard, if at all, at this Honorable
5    Court, located at 350 W. First Street, Los Angeles, CA 90012, on July 16, 2018 at
6    10:00 a.m., or at such time and date as are set by the Court.
7          The SEC’s motion is made pursuant to Rule 65 of the Federal Rules of Civil
8    Procedure, and is based on the SEC’s accompanying Memorandum of Points and
9    Authorities, the Declaration of Rhoda Chang In Support of the SEC’s Motion for
10   Preliminary Injunction and the exhibits attached thereto, the Declaration of Yoland
11   Ochoa In Support of the SEC’s Motion for Preliminary Injunction and the exhibits
12   attached thereto, and any additional evidence or argument that the SEC may present
13   to the Court in support of its motion.
14
15    Dated: June 5, 2018
16                                                  /s/ Gary Y. Leung
                                                   GARY Y. LEUNG
17                                                 DOUGLAS M. MILLER
18                                                 YOLANDA OCHOA
                                                   Attorneys for Plaintiff
19                                                 Securities and Exchange Commission
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     Case 2:18-cv-05008-FMO-AFM Document 4 Filed 06/05/18 Page 3 of 4 Page ID #:31




1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address is:
3          U.S. SECURITIES AND EXCHANGE COMMISSION,
           444 S. Flower Street, Suite 900, Los Angeles, California 90071
4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5    On June 5, 2018, I caused to be served the document entitled PLAINTIFF SEC’S
     NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
6    on all the parties to this action addressed as stated on the attached service list:
7    ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
     collection and mailing today following ordinary business practices. I am readily
8    familiar with this agency’s practice for collection and processing of correspondence
     for mailing; such correspondence would be deposited with the U.S. Postal Service on
9    the same day in the ordinary course of business.
10         ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s),
     which I personally deposited with the U.S. Postal Service. Each such envelope was
11   deposited with the U.S. Postal Service at Los Angeles, California, with first class
     postage thereon fully prepaid.
12
           ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
13   regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
     Angeles, California, with Express Mail postage paid.
14
     ☒      HAND DELIVERY: I caused to be hand delivered each such envelope to the
15   office of the addressee as stated on the attached service list.
16   ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
     by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
17   deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
     Los Angeles, California.
18
     ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail to
19   the electronic mail address as stated on the attached service list.
20   ☒    E-FILING: By causing the document to be electronically filed via the Court’s
     CM/ECF system, which effects electronic service on counsel who are registered with
21   the CM/ECF system.
22   ☐     FAX: By transmitting the document by facsimile transmission. The
     transmission was reported as complete and without error.
23
           I declare under penalty of perjury that the foregoing is true and correct.
24
25   Date: June 5, 2018                          /s/ Gary Y. Leung
                                                GARY Y. LEUNG
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     Case 2:18-cv-05008-FMO-AFM Document 4 Filed 06/05/18 Page 4 of 4 Page ID #:32




1                          SEC v. RALPH T. IANNELLI, et al.
                United States District Court—Central District of California
2                                 Case No. 2:18-cv-05008
3
                                     SERVICE LIST
4
                 Ralph T. Iannelli
5                1486 East Valley Road
                 Montecito, CA 93108
6
                 Essex Capital Corporation
7                1486  East Valley Road
                 2nd Floor
8                Montecito, CA 93108
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